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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

TYRA HARRISON,                                    )
                                                  )
               Plaintiff,                         )
                                                  )
v.                                                )
                                                  )
RVA DIRT, LLC                                     )     Civil Action No.: 3:24-cv-384
                                                  )
and                                               )
                                                  )
BECCA DUVAL,                                      )
                                                  )
               Defendants.                        )

               DEFENDANT REBECCA DUVAL’S MOTION TO DISMISS

       Defendant Rebecca DuVal, by counsel, in accordance with Federal Rule of Civil Procedure

12(b)(6), moves to dismiss the complaint filed against her by Plaintiff Tyra Harrison for its failure

to state a claim upon which relief can be granted. For the reasons stated in the accompanying

memorandum in support of her motion, Ms. DuVal respectfully requests that the Court grant her

motion to dismiss, dismiss the complaint with prejudice, and award any further relief as the Court

may deem just and proper.


                                              Respectfully submitted,


                                              By: /s/ J. Benjamin Rottenborn
                                              J. Benjamin Rottenborn (VSB No. 84796)
                                              Jamie H. Wood (VSB No. 97297)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 2, 2024, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notice to all counsel of record.



                                                     /s/ J. Benjamin Rottenborn
                                                     J. Benjamin Rottenborn




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